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                   Exhibit 60
      [Redacted Public Version]
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                                December 1, 2020


The Honorable James E. Boasberg
U.S. District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001


       Re:     The American Foundation for Suicide Prevention’s Sponsorship of Kevin
               Clinesmith’s Community Service


Dear Judge Boasberg:

        I write to inform the Court that the American Foundation for Suicide Prevention (AFSP)
will gladly serve as a sponsor for a community service portion of Kevin Clinesmith’s sentence.

        Established in 1987, the AFSP is a voluntary health organization that gives those affected
by suicide a nationwide community empowered by research, education and advocacy to take
action against this leading cause of death.

    AFSP is dedicated to saving lives and bringing hope to those affected by suicide. AFSP
creates a culture that’s smart about mental health by engaging in the following core strategies:

   •   Funding scientific research
   •   Educating the public about mental health and suicide prevention
   •   Advocating for public policies in mental health and suicide prevention
   •   Supporting survivors of suicide loss and those affected by suicide in our mission

       The AFSP National Capital Area Chapter (NCAC), serving Washington, D.C. and
Northern Virginia, is in need of volunteers to help us serve our mission and strengthen our
impact. NCAC’s Volunteer Chair recently interviewed Mr. Clinesmith and determined that we
could use his help in the following areas: development (recruitment and stewardship of
community support), communications (marketing and public relations), and public policy
(advocating for essential government policy changes that will save lives).

        Given Mr. Clinesmith’s expressed passion for our mission and work, we welcome his
service and hope that we here at AFSP can be a source of hope and healing for him as well. We
offer our support for a sentence that includes community service at AFSP. Thank you in
advance for your consideration, and please reach out with any questions you may have.

Sincerely,
